Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 1 of 45 PageID #:
                                     161




                           EXHIBIT 1
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 2 of 45 PageID #:
                                     162
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 3 of 45 PageID #:
                                     163
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 4 of 45 PageID #:
                                     164
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 5 of 45 PageID #:
                                     165
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 6 of 45 PageID #:
                                     166
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 7 of 45 PageID #:
                                     167
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 8 of 45 PageID #:
                                     168
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 9 of 45 PageID #:
                                     169
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 10 of 45 PageID
                                   #: 170
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 11 of 45 PageID
                                   #: 171
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 12 of 45 PageID
                                   #: 172
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 13 of 45 PageID
                                   #: 173
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 14 of 45 PageID
                                   #: 174
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 15 of 45 PageID
                                   #: 175
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 16 of 45 PageID
                                   #: 176
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 17 of 45 PageID
                                   #: 177
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 18 of 45 PageID
                                   #: 178
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 19 of 45 PageID
                                   #: 179
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 20 of 45 PageID
                                   #: 180
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 21 of 45 PageID
                                   #: 181
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 22 of 45 PageID
                                   #: 182
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 23 of 45 PageID
                                   #: 183
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 24 of 45 PageID
                                   #: 184
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 25 of 45 PageID
                                   #: 185
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 26 of 45 PageID
                                   #: 186
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 27 of 45 PageID
                                   #: 187
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 28 of 45 PageID
                                   #: 188
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 29 of 45 PageID
                                   #: 189
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 30 of 45 PageID
                                   #: 190
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 31 of 45 PageID
                                   #: 191
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 32 of 45 PageID
                                   #: 192
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 33 of 45 PageID
                                   #: 193
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 34 of 45 PageID
                                   #: 194
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 35 of 45 PageID
                                   #: 195
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 36 of 45 PageID
                                   #: 196
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 37 of 45 PageID
                                   #: 197
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 38 of 45 PageID
                                   #: 198
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 39 of 45 PageID
                                   #: 199
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 40 of 45 PageID
                                   #: 200
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 41 of 45 PageID
                                   #: 201
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 42 of 45 PageID
                                   #: 202
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 43 of 45 PageID
                                   #: 203
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 44 of 45 PageID
                                   #: 204
Case: 4:22-cv-01227-RWS   Doc. #: 39-2 Filed: 03/10/23   Page: 45 of 45 PageID
                                   #: 205
